                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                     3:04CR250-C

UNITED STATES OF AMERICA,                        )
                                                 )            SECOND FINAL ORDER
               v.                                )           CONFIRMING FORFEITURE
                                                 )
(6) JACQUES MAULICE DEGREE                       )

       On April 26, 2006, this Court entered a preliminary order of forfeiture in this case

pursuant to 21 U.S.C. §853(n) and Fed. R. Crim. P. 32.2(b), based upon defendant’s plea of

guilty to Count One in the indictment. In that count, defendant was charged with conspiracy to

possess with intent to distribute cocaine and cocaine base in violation of 21 U.S.C. §841(a)(1)

and §846.

       On August 20, 2006, the United States published in the Shelby Star, a newspaper of

general circulation, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property in accordance with the law, and further notifying all third parties of their right

to petition the Court within thirty days for a hearing to adjudicate the validity of any alleged legal

interest in the property. It appears from the record that no third-party petitions have been filed.

       It is therefore ORDERED:

       In accordance with 21 U.S.C. §853(n)(7) and Rule 32.2(c), the preliminary order of

forfeiture is confirmed as final. All right, title, and interest in the following property has

therefore been forfeited to the United States for disposition according to law: the sum of $8,598

as part of $9,198 in United States currency found on or about October 6, 2004, in a freezer in

defendant’s residence in Shelby, North Carolina.
                                               Signed: October 10, 2006




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